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                                                                          1                     IN THE UNITED STATES DISTRICT COURT
                                                                          2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          3
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )       MDL No. 1917
                                                                          4   ANTITRUST LITIGATION               )
                                                                                                                 )       Case No. C-07-5944-SC
                                                                          5                                      )
                                                                              This Order Relates To:             )       ORDER RE: THOMSON LETTERS
                                                                          6                                      )       OF REQUEST
                                                                              Sharp Electronics Corp. v. Hitachi )
                                                                          7   Ltd., No. C-13-1173-SC;            )
                                                                                                                 )
                                                                          8   Electrograph Systems, Inc. v.      )
                                                                              Technicolor SA, No. 13-cv-05724;   )
                                                                          9                                      )
                                                                              Siegel v. Technicolor SA, No. 13- )
                                                                         10   cv-05261;                          )
                               For the Northern District of California
United States District Court




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                                                                         11   Best Buy Co., Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05264;               )
                                                                         12                                      )
                                                                              Target Corp. v. Technicolor SA,    )
                                                                         13   No. 13-cv-05686                    )
                                                                                                                 )
                                                                         14   Interbond Corporation of America   )
                                                                              v. Technicolor                     )
                                                                         15   SA, No. 13-cv-05727;               )
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                                                                         16   Office Depot, Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05726;               )
                                                                         17                                      )
                                                                              Costco Wholesale Corporation v.    )
                                                                         18   Technicolor SA, No. 13-cv-05723;   )
                                                                                                                 )
                                                                         19   P.C. Richard & Son Long Island     )
                                                                              Corporation v. Technicolor SA, No. )
                                                                         20   13-cv-05725;                       )
                                                                                                                 )
                                                                         21   Schultze Agency Services, LLC v.   )
                                                                              Technicolor SA, Ltd., No. 13-cv-   )
                                                                         22   05668;                             )
                                                                                                                 )
                                                                         23   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Technicolor SA, No. 3:13- )
                                                                         24   cv-05262;                          )
                                                                                                                 )
                                                                         25   Tech Data Corp., et al. v.         )
                                                                              Hitachi, Ltd., et al., No. 13-cv- )
                                                                         26   00157;                             )
                                                                                                                 )
                                                                         27   Crago, et al. v. Mitsubishi Elec. )
                                                                              Corp., et al., No. 14-cv-02058.    )
                                                                         28                                      )
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                                                                          1          Now before the Court are two motions seeking the issuance of
                                                                          2   letters of request for international judicial assistance in
                                                                          3   obtaining documents and witnesses in France from Defendant Thomson
                                                                          4   SA.    Specifically, Direct Action Plaintiffs ("DAPs") seek the
                                                                          5   issuance of letters of request for international judicial
                                                                          6   assistance in the production of documents, ECF No. 2716 ("Docs.
                                                                          7   Mot."), and depositions in France, ECF No. 2776 ("Depos. Mot."),
                                                                          8   pursuant to the procedures of the Hague Convention.1             Previously,
                                                                          9   the Court issued an order resolving most of the pending discovery
                                                                         10   issues related to Thomson SA, ECF No. 2945 ("Thomson Discovery
                               For the Northern District of California
United States District Court




                                                                         11   Order"), but ordered Sharp, the chief proponent of these motions,
                                                                         12   to file a statement explaining whether, in light of that order, the
                                                                         13   motions for the issuance of letters of request are moot.              Sharp has
                                                                         14   since filed that statement, ECF No. 2949 ("Sharp Statement"), and
                                                                         15   explained that while the motion for the issuance of letters of
                                                                         16   request seeking documents is moot, its motion for letters of
                                                                         17   request seeking depositions is still ripe.           Id. at 2.    In that
                                                                         18   statement, Sharp explains that Thomson has withdrawn its opposition
                                                                         19   to the remaining motion seeking issuance of letters of request in
                                                                         20   depositions.      Id. at 3; ECF No. 2949-2 ("Benson Decl.") at ¶ 4.
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                                                                         27     Hague Convention on the Taking of Evidence Abroad in Civil or
                                                                              Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, T.I.A.S. No.
                                                                         28   7444 (codified at 28 U.S.C. § 1780) ("Hague Convention").



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                                                                          1      Accordingly, the Court orders as follows:
                                                                          2            Sharp's motion seeking the issuance of letters of request
                                                                          3             for international judicial assistance in the production
                                                                          4             of documents is DENIED as moot.
                                                                          5            Sharp's motion seeking the issuance of letters of request
                                                                          6             for international judicial assistance in depositions is
                                                                          7             GRANTED.
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                                                                          9      IT IS SO ORDERED.
                                                                         10
                               For the Northern District of California
United States District Court




                                                                         11      Dated: November 3, 2014
                                                                         12                                             UNITED STATES DISTRICT JUDGE

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